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 REDACTED VERSION OF
EXHIBIT 2 SOUGHT TO BE
   FILED UNDER SEAL
                      Case 3:17-cv-00939-WHA Document 1657-3 Filed 09/18/17 Page 2 of 9
  From:     Sasha Zbrozek
  To:       "Thomas E. Gorman" <TGorman@kvn.com>
  Sent:     Thu, 6 Oct 2016 16:01:16 -0700
  Subject: Re: connecting w/ outside counsel

  It's hosted on                 , which itself is a                .

  On Thu, Oct 6, 2016 at 3:23 PM, Thomas E. Gorman <TGormangkvn.com> wrote:


    We're trying to trace AL's [P address on 12/11/2015 to figure out which computer he was using.




    The security ops team wants to know the "domain/IP address" for your SVN solution. Could you please provide?




    Thanks,




    --Tom




    From: Sasha Zbrozek [rnailto
  Sent: Wednesday, October 05, 2016 5:39 PM

  To: Thomas E. Gorman
  Subject: Re: connecting w/ outside counsel




  At least historically, high-value has been algorithms and software. The hardware (at all levels) was a second class citizen.
    Maybe opinions have changed.




  Sensor designs are a combination of electronics, mechanical components, analysis, and manufacturing information. The
    mechanical pails are stored in the EPDM service which Nick was helping look in to. The rest of it is a mess of Google
    Drive and      (an internal file sharing tool).




  The logs go back to late September or early October 2015. I haven't checked the specific date.




  On Wed, Oct 5, 2016 at 5:18 PM, Thomas E. Gorman <TGorman@kvn.com> wrote:


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  How far back do these logs go? I'm trying to figure out whether this is truly out of character based on AL's work pattern, or whether we
   only have a short window of logs and therefore no idea what his normal work pattern was).




  If these schematics are considered low-value, then where is the high-value stuff stored? Sensor designs, etc.




  --Tom




  From: Sasha Zbrozek [mailto:
  Sent: Wednesday, October 05, 2016 3:42 PM



  To: Thomas E. Gorman
  Subject: Re: connecting w/ outside counsel




  Its all electronics designs - schematics and PCB layouts, and the component library for their creation. It was considered
     low-value enough that we had even considered hosting it off of Google infrastructure.




  He was a high-level manager, and not doing any direct technical contribution at this level. It's not particularly surprising
   that he might cheek things out once in the misguided dream of maybe making individual contribution or maybe taking a
   look at the progress of a widget. It clearly wasn't part of his routine. Doesn't ring the alarm bells for me.




  On Wed, Oct 5, 2016 at 2:54 PM, Thomas E. Gorman <TGorman(idcvn.coin> wrote:


  He only accessed SVN the one time, on 12/11/2015? That's a little strange, isn't it?




  I'm still trying to parse his machine/host history, but I believe he had a windows laptop for only 3 weeks in December 2015.




  What, exactly, is in this SVN system? PCB designs? Something else? Any other hardware designs?




  --Torn




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  From: Sasha Zbrozek [maiito:
  Sent: Wednesday, October 05, 2016 2:44 PM



  To: Thomas E, Gorman
  Subject: Re: connecting w/ outside counsel




  The hostname isn't logged because it isn't part of the protocol. It was a Windows machine, but that's no surprise. Only one
    IP was ever used,                , which is registered to Google.




  On Wed, Oct 5, 2016 at 2:32 PM, Thomas E. Gorman <TGormankiikvn.corri> wrote:


  Was Anthony's account sync'd to his Windows laptop? anthony10-w?




  From: Sasha Zbrozek [mailto:
  Sent: Wednesday, October 05, 2016 1:41 PM
  To: Thomas E. Gorman



  Subject: Re: connecting w/ outside counsel




  Here you go.




  On Wed. Oct 5, 2016 at 1:24 PM, Thomas E. Gorman <TGorrnan0.1;vn.corn> wrote:


  Apologies for not getting back to you sooner.




  Don't wipe anything just yet, and in fact, please send me the logs for anthonyl and




  Thanks,




  --Torn




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  From: Sasha Zbrozek [maiito:                  ]
  Sent: Wednesday, October 05, 2016 1:22 PM
  To: Thomas E. Gorman
  Cc: Tom Lue; Tamara 3ih Murray; OTTO-KVN; Charley Saint



  Subject: Re: connecting w/ outside counsel




  -nick, as he has moved on to another autonomy company.




  Was there any other information you were looking for? If not, I'm going to wipe my copies of the logs and the analysis
   scripts.




  On Wed, Sep 21, 2016 at 11:21 AM, Sasha Zbrozek <                                  wrote:


   Summary:




  anthonyl - last access 2015-12-11




  rradu - no access ever


  skshirsagar - no access ever




   If you think there's need. I can send you those users' log entries, but they don't look very interesting.

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  -Sasha




  On Tue, Sep 20, 2016 at 8:39 PM, Thomas E. Gorman <TGonnan@kvn.com> wrote:


   @Charley, the request is a little further down in this threat, in my 9/19 email @ 8:15 PM. Please let me know if you have any questions.




  Thanks,




  --Tom




  From: Tom     Lue
  Date: Tuesday,      September 20, 2016 at 11:21 AM
  To: Nick Vines
  Cc: Thomas Gorman <TGorman@kvn,com>, Sasha Zbrozek                                              , Tammy Murray
                             , OTTO-KVN <OTTO-KVN@kvn.com>, Charley Saint                                            >
  Subject: Re: connecting w/ outside counsel




  + Charley, who I just chatted with briefly.




  Charley -- Torn Gorman is from Keker & Van Nest, our outside counsel on this matter, and Tammy is from the Google
   litigation team. @Tom G. -- Can you let Charley know what you need on your end?




  Thanks all,


  Torn




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  On Tue, Sep 20, 2016 at 10:11 AM. Toni Lue                                wrote:


     OK. thanks, Nick. @Tammy -- I'll reach out to                 and connect him with you/KVN.




     Best,


     Tom




     On Tue, Sep 20 2016 at 10:08 AM, Nick Vines <i                                  wrote:


      Hi Tom,




      I haven't been able to find a way to get access logs. EPDM is similar to SVN in that it syncs files Locally for work, so
      even if someone sync'd the entire folder that wouldn't be out of normal operation.




      There isn't an encryption or time out on the files either.             is a better contact to sec if there is a log or report that
      might show sync operations around a specific date.




      Nick




      On Mon, Sep 19, 2016 at 8:15 PM Thomas E. Gorman <TGorman(wkvii.corn> wrote:


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       Nick / Sasha—




      Thanks in advance for your help! We're looking to check two systems for the account activity associated with a few Xooglers.




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       The systems are:

       1.   Solidworks/PLM

       2.      51/NliAltiu m




       The individuals / time periods that we are focused on are:

                  anthonyl — Aug, 2015 through Jan. 2016




                  skshirsagar —June to July 2016

                  rradu —June to July 2016,

       The second tranche includes hardware engineers and a supply-chain manager, so those logs could be more burdensome to collect.
       We might need to chat about ways to limit the burden by focusing the search (limit the time period? limit to certain types of access?).




       Please let me know if you have any questions. Thanks again,




       --Tom




       From: Tom  Lue
  ❑ate: Monday, September 19, 2016 at 1:41 PM
  To: Nick Vines                     , Sasha Zbrozek
  Cc: Thomas Gorman <TGorman@kvn.com>, Tammy Murray                                                >
  Subject: connecting w/ outside counsel




  Iii Nick and Sasha,




  Per my chat with you both individually. I'm connecting you with Toni Gorman from Keker & Van Nest (outside counsel).
      as well as Tammy who is lead POC' from the Google litigation team.


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   @Tom -- please advise Nick and Sasha on what you need from your end.




  Thanks all,


  Torn




      If you received this communication by mistake, please don't forward it to anyone else (it may contain confidential or privileged
      information), please erase all copies of it, including all attachments, and please let the sender know it went to the wrong person. Thanks.


      Nick Vines I Self-Driving-Car Project




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